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 3                                UNITED STATES DISTRICT COURT
 4                                           DISTRICT OF NEVADA
 5                                                   ***
 6    UNITED STATES OF AMERICA,                             Case No. 2:19-cr-00216-JAD-NJK
 7                           Plaintiff,
                                                            ORDER
 8          v.
 9    ORLANDIS WELLS,
10                           Defendant.
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12          This matter is before the Court on Defendant Dr. Wells’ Motion to Amend Conditions of

13   Pretrial Release, for Return of Passport, and for Permission to Travel filed on October 13, 2020.

14   (ECF No. 60). The Court ordered the Government to respond by October 15, 2020. (ECF No.

15   61). The Government filed its Response on October 15, 2020 (ECF No. 62). The Defendant filed

16   a Reply to the Response on that same date. (ECF No. 63). The Court finds this matter

17   appropriately decided without an evidentiary hearing because there are no disputed material

18   issues of fact related to the motion.

19          Dr. Wells requests that his passport be returned to him and seeks temporary amendment of

20   his pretrial release travel restrictions so that he can travel to Tijuana, Mexico October 20, 2020 to

21   accompany his mother who has been diagnosed with Stage IV breast cancer to an advanced

22   chemotherapy treatment facility located there. Dr. Wells attaches detailed information explaining

23   his mother’s current condition and the reason for travel. While the exact dates of the treatment

24   are currently unknown, Dr. Wells has indicated he will immediately inform the Court and his

25   pretrial officer of the dates necessary for the treatment and his travel arrangements.

26          The Government does not object to Dr. Wells’ request to be allowed to have his passport

27   returned to him so that he can travel to Tijuana, Mexico for his mother’s treatment. However, the

28   Government requests that the Court add two additional conditions: 1) That Dr. Wells return his
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 1   passport to Pretrial in between each of his travels to Mexico by the next business day after his

 2   reentry into the United States; and 2) that he advise Pretrial Services of the dates of his planned

 3   travel to Mexico at least 72 hours before he departs. Additionally, Pretrial Services does not

 4   object to Dr. Wells traveling to Mexico and concurs in the Government’s recommendation about

 5   the two additional conditions.

 6          Dr. Wells replies that because his mother’s medical condition and the related situation is

 7   extremely fluid and unpredictable. He argues requiring him to provide 72 hours notice before

 8   traveling to Mexico and requiring him to turn in his passport in the interim will create undue

 9   hardships and inhibit Dr. Wells’ ability to accompany his mother for her treatment given the fluid

10   nature of the emergency situation. Dr. Wells has offered to provide the Court, the Government

11   and Pretrial Services detailed status reports on his mother’s condition and travel if necessary to

12   address concerns the parties may have regarding Dr. Wells’ proposed travel.

13          Dr. Wells was ordered released on his own recognizance on August 23, 2019 with certain

14   conditions, including Pretrial Services’ supervision, surrendering his passport, and restricting his

15   travel. (ECF No. 6). The record in the case reflects that Dr. Wells has been entirely compliant

16   with the conditions of his pretrial release since that time. Dr. Wells now asks for a temporary

17   suspension of these conditions to allow the return of his passport so he can travel to Tijuana,

18   Mexico for approximately three weeks to accompany his mother for her chemotherapy treatment

19   related to her Stage IV breast cancer. Such a request is utterly reasonable under the

20   circumstances and is justified given Dr. Wells’ complete compliance with his conditions of

21   release for well over a year. Additionally, the Government does not object to him traveling to

22   Tijuana, Mexico, but asks for more restrictive conditions. While the Court understands the

23   Government’s position in that regard, the Court does not want to unnecessarily burden Dr. Wells

24   with conditions that are not necessary yet may interfere with his ability to accompany and assist

25   his mother with her cancer treatment. Accordingly, the Court will grant Dr. Wells’ request to

26   modify his conditions of release.

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            IT IS HEREBY ORDERED that Defendant Orlandis Wells’ Motion to Amend
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 2   Conditions of Pretrial Release, for Return of Passport, and for Permission to Travel (ECF No. 60)

 3   is GRANTED.

 4          IT IS FURTHER ORDERED that Defendant Orlandis Wells’ conditions of release are
 5   modified as follows. Pretrial Services shall return Dr. Wells’ passport to him solely for the
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     purpose of Dr. Wells travelling to Tijuana, Mexico to accompany his mother for her Stage IV
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     breast cancer chemotherapy treatment. Given that it appears as though the course of treatment is
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     for approximately three weeks, the Court will order that Dr. Wells is allowed to retain his
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10   passport and travel to Tijuana, Mexico for five (5) weeks from the date of this order. Upon

11   completion of the treatment and his return from Mexico Dr. Wells is immediately to surrender his

12   passport to Pretrial Services, and the travel restriction to the Continental United States will be
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     reimposed for the duration of his supervision.
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15          DATED: October 16, 2020

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                                                           DANIEL J. ALBREGTS
18                                                         UNITED STATES MAGISTRATE JUDGE

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